   Case 22-19361-MBK Doc 2195 Filed 03/22/24 Entered 03/22/24 13:08:59                            Desc Main
                             Document
UNITED STATES BANKRUPTCY COURT            Page 1 of 8
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)




                                                                          Order Filed on March 22, 2024
                                                                          by Clerk
                                                                          U.S. Bankruptcy Court
                                                                          District of New Jersey



In Re:                                                   Case No.:                        22-19361
 BlockFi Inc.
                                                         Adv. No.:

                                                          Hearing Date:

                                                          Judge:                   Michael B. Kaplan


  ORDER GRANTING THE DEBTORS’ MOTION TO AMEND SCHEDULES OF ASSETS AND
                            LIABILITIES

         The relief set forth on the following pageis hereby ORDERED.




DATED: March 22, 2024
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                      ORDER GRANTING THE DEBTORS’ MOTION TO
                     AMEND SCHEDULES OF ASSETS AND LIABILITIES

         The relief set forth is hereby ORDERED.

         Upon consideration of the Debtors’ Motion to Amend Schedules of Assets and Liabilities

 (the “Motion”),3 pursuant to Bankruptcy Rule 1009(a) and Local Rule 1009-1; and notice of the

 Motion having been given to, among other parties, the Office of the United States Trustee, each

 of the parties listed on Exhibit A attached to the Motion, and all other parties requesting notice

 pursuant to Bankruptcy Rule 2002; and it appearing that no other or further notice is required;

 and sufficient cause appearing therefor;

         IT IS HEREBY ORDERED ADJUDGED AND DECREED THAT:

         1.       The Motion is GRANTED as set forth herein.

         2.       The Court hereby authorizes and approves the additions to the Schedules BlockFi

 International and BlockFi Lending substantially as reflected in the Accrued Interest Schedules

 attached to this Order as Schedules 1, and 2, which may be filed in redacted form consistent with

 the Court’s prior order at Docket No. 1757.

         3.       The Wind-Down Debtors are authorized and empowered to take such actions as

 may be necessary and appropriate to implement the terms of this Order, including without

 limitation by submitting amended schedules otherwise conforming to applicable Local Rules and

 prior Orders of this Court with respect to redaction of personally identifiable information.

         4.       Notwithstanding any provision of the General Bar Date Order, the relief granted

 herein shall not, and shall not be construed to, establish a Supplemental Bar Date, reopen or

 extend any previous bar date in these Chapter 11 Cases, or otherwise authorize the filing of any



 3
     Capitalized terms used but not otherwise defined in this Order shall have the meanings ascribed to them in the
     Motion.

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 new Proof of Claim previously barred by any order of this Court or by operation of the

 Bankruptcy Code, Bankruptcy Rules, or the Local Rules. For the avoidance of doubt, no party

 shall be permitted to file a Claim or amend their Claim as a result or in respect of this Order.

          5.    This Order is without prejudice to the Wind-Down Debtors’ right to further

 amend the Debtors’ Schedules.

          6.    The requirement pursuant to Local Rule 9013-1 for the Debtors to file a

 memorandum of law in support of the Motion is hereby waived.

          7.    This Court shall retain jurisdiction over any and all issues arising from or related

 to the implementation and interpretation of this Order.
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                                      Schedule 1

                                 BlockFi International



             Creditor Name                               Accrued Interest

                Redacted                                    $ 4,520.55

                Redacted                                    $ 1,406.87

                Redacted                                   $ 233,043.01

                Redacted                                    $ 1,652.20

                Redacted                                    $ 1,634.50

                Redacted                                   $ 62,865.82

                Redacted                                    $ 4,004.38

                Redacted                                   $ 11,673.95

                Redacted                                   $ 13,276.88

                Redacted                                    $ 8,938.35

                Redacted                                    $ 1,031.40

                Redacted                                    $ 7,057.53

                Redacted                                   $ 18,814.27

                Redacted                                   $ 19,795.88

                Redacted                                   $ 44,663.01

                Redacted                                    $ 5,873.29

                Redacted                                    $ 1,700.67

                Redacted                                   $ 39,920.76
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                                     Schedule 2

                                   BlockFi Lending



             Creditor Name                             Accrued Interest
                Redacted                                  $3,780.82
                Redacted                                  $2,154.40
                Redacted                                  $2,640.53
                Redacted                                  $2,024.68
                Redacted                                  $3,756.31
                Redacted                                  $2,704.00
                Redacted                                 $138,530.53
                Redacted                                  $42,851.00
                Redacted                                  $96,156.98
                Redacted                                  $11,187.67
                Redacted                                  $52,445.71
                Redacted                                  $7,232.82
                Redacted                                 $432,964.11
                Redacted                                  $35,118.39
                Redacted                                  $5,449.45
                Redacted                                   $524.85
                Redacted                                  $2,723.72
                Redacted                                  $29,999.90
                Redacted                                  $5,253.58
                Redacted                                  $26,040.19
                Redacted                                  $3,663.07
                Redacted                                  $5,544.95
                Redacted                                  $4,142.46
                Redacted                                  $4,520.55
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                Redacted                                  $3,615.07
                Redacted                                  $16,579.45
                Redacted                                  $3,640.00
                Redacted                                  $3,590.14
                Redacted                                  $2,846.66
                Redacted                                  $22,582.47
                Redacted                                  $12,357.27
                Redacted                                  $13,464.29
                Redacted                                  $6,143.86
                Redacted                                  $27,439.70
                Redacted                                  $9,402.74
                Redacted                                  $5,115.12
                Redacted                                  $12,311.61
                Redacted                                  $87,404.10
                Redacted                                  $6,645.99
                Redacted                                  $34,093.15
                Redacted                                  $17,808.22
                Redacted                                  $15,528.77
                Redacted                                  $21,962.33
                Redacted                                  $8,191.78
                Redacted                                  $15,890.41
                Redacted                                  $8,013.70
                Redacted                                  $9,683.01
                Redacted                                  $17,605.48
                Redacted                                  $21,191.78
                Redacted                                  $3,843.83
                Redacted                                  $5,750.00
                Redacted                                  $1,609.64
                Redacted                                  $2,635.37
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                Redacted                                  $2,836.65
                Redacted                                  $1,863.01
                Redacted                                  $2,772.60
                Redacted                                  $8,427.27
                Redacted                                  $2,311.64
                Redacted                                  $4,455.54
                Redacted                                  $20,502.38
                Redacted                                  $9,774.66
                Redacted                                  $5,142.20
                Redacted                                  $12,986.30
                Redacted                                  $3,507.66
                Redacted                                  $15,806.81
                Redacted                                  $3,375.34
                Redacted                                  $4,158.90
                Redacted                                  $16,060.00
                Redacted                                  $12,320.00
                Redacted                                  $11,191.78
                Redacted                                  $11,366.09
                Redacted                                  $15,008.22
                Redacted                                  $7,972.60
                Redacted                                  $14,767.12
                Redacted                                  $2,205.52
                Redacted                                  $9,406.85
                Redacted                                  $17,917.81
                Redacted                                  $10,142.05
                Redacted                                  $3,193.15
                Redacted                                  $1,370.65
                Redacted                                  $1,183.56
                Redacted                                  $65,068.46
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                Redacted                                   $391.28
                Redacted                                  $22,495.89
                Redacted                                  $2,845.95
                Redacted                                  $84,777.38
                Redacted                                   $942.01
                Redacted                                  $7,883.44
                Redacted                                  $9,812.58
                Redacted                                  $7,713.92
                Redacted                                  $3,151.07
                Redacted                                  $1,760.53
                Redacted                                  $6,520.55
                Redacted                                  $3,019.18
                Redacted                                  $1,409.95
                Redacted                                  $5,394.45
                Redacted                                  $87,972.59
                Redacted                                  $2,386.85
                Redacted                                  $7,482.88
                Redacted                                  $15,726.03
                Redacted                                  $2,261.91
                Redacted                                  $2,814.69
                Redacted                                  $8,422.93
                Redacted                                  $7,232.88
                Redacted                                  $12,734.87
